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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

_____________________________________
CLAUDIA BALLESTAS and                 )                  CIVIL ACTION NO.:
MOISES HERNANDEZ,                     )                  3:17-CV-00404-JBA
      Plaintiffs                      )
                                      )
v.                                    )
                                      )
THE HARTFORD AUTO GROUP, INC.         )
D/B/A BARBERINO MITSUBISHI-HARTFORD )
      Defendant                       )
_____________________________________ )                  JANUARY 23, 2018


                             STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A)(ii), the plaintiffs, Claudia Ballestas

and Moises Hernandez, through their attorney, and the defendant, The Hartford Auto

Group, Inc. d/b/a Barberino Mitsubishi-Hartford, through their attorneys, hereby stipulate

that the plaintiffs’ claims shall be dismissed with prejudice and without costs or

attorney’s fees.

                                          PLAINTIFFS, CLAUDIA BALLESTAS AND
                                          MOISES HERNANDEZ

                                          By: /s/ Daniel S. Blinn
                                               Daniel S. Blinn (ct02188)
                                               dblinn@consumerlawgroup.com
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                                         DEFENDANT, THE HARTFORD AUTO
                                         GROUP, INC. D/B/A BARBERINO
                                         MITSUBISHI-HARTFORD

                                         By: /s/ John F. Conway
                                                 John F. Conway (ct04763)
                                                 Loughlin FitzGerald, P.C.
                                                 150 South Main Street
                                                 Wallingford, CT 06492
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                                    CERTIFICATION

       I hereby certify that on this 23rd day of January, 2018, a copy of the foregoing
was filed electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through the
Court’s CM/ECF System.


                                          /s/ Daniel S. Blinn
                                         Daniel S. Blinn




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